3/17/22. 4:25 PM Complaint Print

(https://www.consumerfinance.gov/)

Submit a complaint / Complaint filed

Your complaint

Complaint Number 220317-8325235
Step 1

What product or service is your complaint about?

PRODUCT OR SERVICE

Credit reporting, credit repair services, or other personal consumer reports

TYPE
Credit reporting

Step 2

What type of problem are you having?

ISSUE

Incorrect information on your report

HAVE YOU ALREADY TRIED TO FIX THIS PROBLEM WITH THE COMPANY?

Yes

TYPE OF ISSUE

Account information incorrect

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3/17/22, 4:25 PM Complaint Print

Step 3

What happened?

| sent an inital complaint dated 2/14/22 with the inaccuracies that are being reported
differently across Experian and Equifax. They (Snap-On Credit) received that letter with
certified returned receipt on 2/18/22. Their response was a “canned” response that all is
well and they are reporting out accurately. A second letter was sent today (3/17/22) certified
signature required with further violations highlighted. | hope they they cure the deficiencies
by fixing or deleting the inaccurate items as required by Law.

vl want the CFPB to publish this description on consumerfinance.gov so that others can
learn from my experience.

The CFPB will take steps to remove my personal information from this description but
someone may still be able to identify me. Learn how it works. | consent to publishing this
description after the CFPB has taken these steps.

What would be a fair resolution to this issue?

Fix the inaccuracies or delete as required by the Fair Credit Reporting Act as written into Law
by Congress.

Step 4

What company is this complaint about?

COMPANY INFORMATION
SNAP-ON CREDIT LLC

SOCIAL SECURITY NUMBER (LAST FOUR DIGITS)
0233

DATE OF BIRTH
07/19/1970

sep

NAME AS IT APPEARS ON CREDIT REPORT
Joey Kimbrough

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